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13                             UNITED STATES DISTRICT COURT

14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15   KATHRYN SPLETSTOSER,                       )   Case No. 2:19-cv-10076-MWF-AGR
16                                              )
                  Plaintiff,                    )   (1) NOTICE OF MOTION AND
17                                              )   MOTION OF THE UNITED STATES
            v.                                  )   TO DISMISS FIRST AMENDED
18                                              )   COMPLAINT FOR LACK OF
19   GENERAL JOHN E. HYTEN, in his              )   SUBJECT MATTER JURISDICTION
     individual capacity,                       )
20                                              )   (2) MEMORANDUM OF POINTS
21                Defendant.                    )   AND AUTHORITIES
                                                )
22                                              )   [Fed. R. Civ. P. 12(b)(1)]
                                                )
23                                              )   Date: October 5, 2020
24                                              )   Time: 10:00 a.m.
                                                )   Ctrm: Hon. Michael W. Fitzgerald
25                                              )   United States District Judge
26                                              )

27
28
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 9
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 1                    NOTICE OF MOTION AND MOTION TO DISMISS
 2
            PLEASE TAKE NOTICE that on October 5, 2020, at 10:00 a.m., or as soon
 3
     thereafter as the parties may be heard, defendant United States of America1 will bring for
 4
     hearing a motion to dismiss the First Amended Complaint. The hearing will take place
 5
     before the Honorable Michael W. Fitzgerald, in his Courtroom, First Street Courthouse,
 6
     350 West First Street, Courtroom 5A, Los Angeles, California 90012.
 7
            The United States respectfully moves to dismiss the First Amended Complaint
 8
     pursuant to Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter
 9
     jurisdiction. This Motion is based on this Notice, the Memorandum of Points and
10
     Authorities, the pleadings, records, and files in this action, and upon such other and
11
     further arguments, documents, and grounds as may be presented at the hearing of this
12
     Motion. This Motion is made following the Local Rule 7-3 conference of counsel.
13
     Undersigned counsel emailed plaintiff’s counsel on August 17, 2020, explaining in detail
14
     the substance of the Motion. The parties were unable to reach agreement on the Motion.
15
     Dated: August 24, 2020                     Respectfully submitted,
16
                                                ETHAN P. DAVIS
17                                              Acting Assistant Attorney General
                                                C. SALVATORE D’ALESSIO, JR.
18
                                                Acting Director, Torts Branch
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21                                              /s/ Reginald M. Skinner
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                                                Virginia State Bar. No. 48785
23                                              Torts Branch, Civil Division
                                                United States Department of Justice
24
25                                              Counsel for the United States of America
26
27
     1
      This Motion is made by the United States, which was substituted for General Hyten under 28 U.S.C.
28   2679(d)(1). See ECF No. 38.
                                                     vii
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                         INTRODUCTION
 3
           This Court carefully examined the law and the facts alleged by Colonel Spletstoser
 4
     when it dismissed her Complaint against General Hyten, finding “that the allegations in
 5
     this action are most analogous to those in Stauber [v. Cline, 837 F.2d 395 (9th Cir.
 6
     1988)], and that Plaintiff’s claims fall within the Feres doctrine.” ECF No. 38, at 3.
 7
     Apparently unable to cure the deficiencies exposed in her original complaint, Colonel
 8
     Spletstoser now attempts to sweep them under the rug simply by omitting from her
 9
     amended complaint the allegations that show a direct connection between her injuries
10
     and activity incident to her military service. Colonel Spletstoser cannot avoid dismissal
11
     in this manner. Courts have repeatedly rejected this “strange maneuver” of deleting
12
     information that shows the plaintiff’s claims are barred. Schneider v. Kissinger, 412 F.3d
13
     190, 199 (D.C. Cir. 2005).
14
           Specifically, this Court and others have explained that factual assertions in a
15
     pleading are judicial admissions, and when an amended complaint simply omits, without
16
     explanation, allegations that otherwise defeat the plaintiff’s case, the “amended pleading
17
     does not operate as a judicial tabula rasa.” Orgone Capital III, LLC v. Daubenspeck,
18
     912 F.3d 1039, 1048 (7th Cir. 2019). The court is not required to ignore its prior decision
19
     or damaging statements in a pleading that have not been contradicted or explained. Id.
20
     Rather, the court may consider the previously-pled allegations in ruling on a motion to
21
     dismiss the amended complaint. See, e.g., Jackson v. Loews Hotels, Inc., No. 5:18-cv-
22
     00827-DMG-JC, 2019 WL 6721637 (C.D. Cal. July 24, 2019).
23
           The admissions Colonel Spletstoser made in her initial pleading have not been
24
     contradicted. Instead, she amended her complaint to simply drop the abundant details
25
     showing that her alleged injury arose incident to her military service as the Director of
26
     General Hyten’s Commander’s Action Group (CAG). Nor have the admissions been
27
     explained sufficiently to revive her case. All that Colonel Spletstoser has said is that the
28
                                                   1
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 1   allegations were “background information.” ECF No. 28, at 7 n.4.2 But the information
 2   they provide (and the reason Colonel Spletstoser dropped them) shows the direct
 3   connection between her injuries and her military service. That is not an explanation that
 4   saves Colonel Spletstoser’s claims; it is one that shows the Court was correct to dismiss
 5   them in the first instance. And it shows that her claims fail yet again for the same reasons
 6   the Court previously identified.
 7          Moreover, even apart from Colonel Spletstoser’s strategically omitted allegations,
 8   the amended complaint does nothing to alter the Court’s determination that this lawsuit
 9   falls within the “enormous breadth” of the Feres doctrine. Estate of McAllister v. United
10   States, 942 F.2d 1473, 1480 (9th Cir. 1991). The amended complaint still alleges injuries
11   that occurred while Colonel Spletstoser was attending a national defense forum in her
12   military capacity as General Hyten’s CAG Director. And it is still the case that Colonel
13   Spletstoser’s lawsuit threatens military discipline by inviting this Court to second-guess
14   the military’s decisions regarding the investigation and disposition of sexual misconduct
15   claims. This concern is reinforced by Colonel Spletstoser’s Freedom of Information Act
16   (FOIA) suit in Washington, D.C., where she asserts a “compelling and immediate need”
17   for extensive discovery into the military’s handling of her allegations against General
18   Hyten because this evidence is supposedly “essential” to pursue her damages claims
19   here. Spletstoser v. U.S. Dep’t of Defense, No. 1:20-cv-731-CKK (D.D.C.), ECF No. 1,
20   ¶¶ 96-97, 110-11. At bottom, this Court was right to dismiss Colonel Spletstoser’s
21   original complaint as Feres-barred, and nothing has changed. The First Amended
22   Complaint cannot revive Colonel Spletstoser’s case. And therefore, its dismissal is
23   proper.
24                                              STATEMENT
25          Colonel Spletstoser’s original complaint alleged the following basic claim: she
26
27   2
      See also id. at 2 n.1 (“Any information provided in the Complaint related to facts other than the sexual
     misconduct including the assaults and batteries listed in the causes of action is for background purposes
28   only and will be withdrawn with an amended complaint, should the Court grant leave to amend.”).
                                                        2
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 1   was repeatedly harassed and sexually assaulted by General Hyten—her first-line
 2   supervisor and commanding officer—on multiple occasions for a full year. ECF No. 1
 3   (“Compl.”), ¶¶ 33-47. These alleged incidents occurred both on-base and off-base, both
 4   during and after working hours—some occurring when she was working in her
 5   STRATCOM3 office, while others took place when she was on official temporary duty
 6   (TDY) assignments in her military capacity as General Hyten’s CAG Director. Id. When
 7   she refused General Hyten’s alleged unwanted gestures, he retaliated against her, giving
 8   her negative performance evaluations and targeting her for investigation, which resulted
 9   in Colonel Spletstoser being relieved of her duties (at General Hyten’s request) and
10   forced to retire from the military. Id. ¶¶ 48-79. The Air Force Office of Special
11   Investigations (AFOSI) allegedly mishandled the investigation of her sexual misconduct
12   claims, and senior military leaders improperly refused to take disciplinary action against
13   General Hyten. Id. ¶¶ 80-124.
14           Based on these allegations, General Hyten and the United States moved to dismiss
15   the complaint for lack of jurisdiction on Feres grounds. ECF No. 22. And this Court
16   granted the motion, concluding “that the allegations in this action are most analogous to
17   those in Stauber, and that Plaintiff’s claims fall within the Feres doctrine.” ECF No. 38,
18   at 3.
19           In response, Colonel Spletstoser filed an amended complaint that does not allege
20   any new or different facts. Instead, as forecast in her opposition to the initial motion to
21   dismiss,4 she has simply deleted from her amended complaint all of the allegations this
22   Court relied upon in determining that jurisdiction was lacking—i.e., that Colonel
23   Spletstoser’s alleged injuries arose from activity incident to her military service.
24   Specifically, gone are the allegations that:
25        General Hyten was Colonel Spletstoser’s “first-line supervisor,” Compl. ¶ 2;
26
          General Hyten allegedly sexually harassed and assaulted Colonel Spletstoser
27   3
       United States Strategic Command.
28   4
       See ECF No. 28, at 2 n. 1; id. at 7 n.4.
                                                    3
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 1         “repeatedly” on “multiple occasions” “for several months” from January 2017 to
           December 2017, id. ¶¶ 1, 34, 37, 51;
 2
 3       Colonel Spletstoser was allegedly subjected to this behavior on at least nine
 4        separate occasions, in multiple locations, including five alleged incidents that
          occurred when she was working in her STRATCOM office in Nebraska, id. ¶¶
 5        41-43 (alleging two incidents at STRATCOM and claiming similar incidents
 6        occurred “approximately an additional three times”);

 7       The alleged incidents occurred while she was on “temporary duty” assignments,
 8        id. ¶ 35;

 9       Incidents allegedly occurred after working hours that nevertheless had a
10        connection to the performance of Colonel Spletstoser’s military duties—for
          example, allegations that General Hyten came to her hotel room “under the
11        pretense of work-related purposes,” id. ¶ 45; accord id. ¶ 35 (“to discuss the next
12        day’s talking points”); id. ¶ 38 (“to go over work issues”); id. ¶ 39 (“there was
          work to be done”); id. ¶ 40 (“for a Pacific Command trip” and “while rehearsing
13        for his upcoming press conference”); id. ¶ 42 (“to discuss the day’s meetings and
14        events”); id. ¶ 44 (“before they left for the airport”);
15       “Gen. Hyten retaliated against her and the government then failed to conduct a
16        fair investigation into Gen. Hyten’s conduct,” id. ¶ 36;
17
         For refusing General Hyten’s “sexual advances and assaults,” General Hyten
18        allegedly caused Colonel Spletstoser to receive negative performance appraisals
          and targeted her for an AR 15-6 investigation, which resulted in Colonel
19
          Spletstoser receiving an official reprimand, being relieved of her duties as CAG
20        Director, and being forced to retire from the military, id. ¶¶ 49, 52-60, 62, 64-71,
          73-77; and
21
22       AFOSI’s investigation of her sexual misconduct claims was allegedly inadequate,
          and the military’s decision to take no disciplinary action against General Hyten
23
          was biased and conflicted, ¶¶ 84-92, 94-96, 101-08, 113-15, 117-19, 124.
24
25         Having deleted all of these allegations, Colonel Spletstoser’s basic claim has been

26   reduced to: “Plaintiff was sexually assaulted by John E. Hyten (‘Defendant,), on

27   December 2, 2017 in a hotel room in Westlake Village, CA.” First Am. Compl. ¶ 1.

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                                                 4
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 1                                           ARGUMENT
 2   I.    Colonel Spletstoser Cannot Avoid Application of the Feres Doctrine by
           Simply Deleting from Her Amended Complaint the Allegations that Show
 3
           Her Alleged Injuries Arose Out of Activity Incident to Her Military Service.
 4
           A.     The Court may consider Colonel Spletstoser’s previously-pled
 5
                  allegations in ruling on the United States’ motion to dismiss.
 6
           Colonel Spletstoser cannot circumvent this Court’s previous decision that her
 7
     claims are Feres-barred by selectively omitting from her amended complaint the
 8
     allegations that confirm the doctrine’s application to her claims. Courts have explained
 9
     that factual assertions in a pleading are judicial admissions, and when an amended
10
     complaint simply omits, without a legitimate explanation, allegations that are harmful to
11
     the plaintiff’s case, the “amended pleading does not operate as a judicial tabula rasa.”
12
     Orgone Capital III, LLC, 912 F.3d at 1048. The “court is not required to ignore its prior
13
     decision” or pretend that the allegations never existed. Id. Rather, the court may consider
14
     the earlier allegations in ruling on a motion to dismiss the amended complaint.
15
           Particularly instructive is this Court’s decision in Jackson, 2019 WL 6721637.
16
     The plaintiff in that case booked a hotel room with Loews. The company experienced a
17
     data breach, whereby an intruder obtained credit card and personal information for some
18
     reservations. The plaintiff brought state common law and statutory claims against
19
     Loews, alleging that the data breach placed her at an imminent risk of identity theft. The
20
     Court granted Loews’ Rule 12(b)(1) motion to dismiss because the complaint failed to
21
     allege that the plaintiff suffered an Article III injury sufficient to establish standing to
22
     pursue her claims. Id. at *1. Specifically, the plaintiff failed to demonstrate a substantial
23
     risk of future harm because her complaint alleged that she had closed or modified her
24
     financial accounts after the hacking, thereby neutralizing any risk of future fraud arising
25
     from the theft of her financial information. Id. at *2. When given leave to amend her
26
     allegations, the plaintiff “simply omit[ted] from her [amended complaint] any allegations
27
     that she closed or modified her financial accounts after the data breach.” Id.
28
                                                    5
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 1          This Court began its analysis by observing that the “Plaintiff’s decision to remove
 2   her previous allegations about closing or modifying her credit card or bank accounts
 3   does not simply erase those allegations from the case.” Id. at *3. The Court then
 4   proceeded to synthesize the Ninth Circuit’s case law on how courts should treat a
 5   plaintiff’s attempt to amend away adverse earlier allegations. While Loews argued that
 6   courts need not accept allegations that contradict allegations in a previous complaint, this
 7   Court explained that “[t]he reality of the case law in this circuit . . . is more
 8   complicated.” Id. The Court observed that, on the one hand, in the context of granting
 9   leave to amend, the Ninth Circuit has held that “leave to amend should be liberally
10   granted, [but] the amended complaint may only allege other facts consistent with the
11   challenged pleading.” Id. (emphasis added) (quoting Reddy v. Litton Indus., Inc., 912
12   F.2d 291, 296-97 (9th Cir. 1990)).5 On the other hand, the Ninth Circuit “later held,
13   without overturning Reddy, that ‘there is nothing in the Federal Rules of Civil Procedure
14   to prevent a party from filing successive pleadings that make inconsistent or even
15   contradictory allegations.’” Id. (quoting PAE Gov’t Servs., Inc. v. MPRI, Inc., 514 F.3d
16   856, 860 (9th Cir. 2007)). This Court explained that not only has the Ninth Circuit “not
17   resolved this apparent inconsistency,” but there are some indications “that Reddy and
18   PAE may be irreconcilable.” Id. (citing Shirley v. Univ. of Idaho, Coll. of Law, 800 F.3d
19   1193, 1195 (9th Cir. 2015) (“In my view, PAE … is irreconcilable with Reddy and its
20   rationale.”) (Canby, J., concurring)).
21          Ultimately, this Court concluded in Jackson that the plaintiff’s attempt to avoid
22   dismissal simply by omitting the allegations that defeated her case made it unnecessary
23   to reconcile the Ninth Circuit’s conflicting decisions:
24          The Court can ultimately avoid the intra-circuit confusion on this issue
            … because the [Second Amended Complaint’s] allegations do not
25
            contradict the [First Amended Complaint’s] allegations—the SAC
26          merely omits previously-pled material information that harms
27
     5
      The Ninth Circuit has cited Reddy for this proposition as recently as Garmon v. Cty. of Los Angeles,
28   828 F.3d 837, 846 (9th Cir. 2016).
                                                        6
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 1             Plaintiff’s case. These allegations are therefore more appropriately
               characterized as judicial admissions that Plaintiff has not cured. See
 2
               Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988)
 3             (assertions in pleadings are judicial admissions unless amended); see
               also Huey v. Honeywell, Inc., 82 F.3d 327, 333 (9th Cir. 1996)
 4
               (admissions in original complaints that have been “amended or
 5             withdrawn” are no longer conclusive, but are still admissions, and
               courts may still consider them); Burgoon v. Narconon of N. California,
 6
               125 F. Supp. 3d 974, 984 (N.D. Cal. 2015) (“The amendment of a
 7             pleading does not make it any the less an admission of the party”)
               (citing Andrews v. Metro N. Commuter R. Co., 882 F.2d 705, 707 (2d
 8
               Cir. 1989)).
 9
10   Id. (second emphasis added).

11             The plaintiff in Jackson thus failed to “overcome her prior admission that she

12   closed or modified her accounts to mitigate the impact of the data breach,” and she

13   consequently failed to cure the deficiencies exposed in her prior complaint regarding her

14   lack of standing to sue for information exposed by the data breach. Id. Accordingly, this

15   Court granted the defendant’s motion to dismiss the Second Amended Complaint

16   without further leave to amend. Id. at *5. And in another case raising very similar

17   allegations of fraud arising from a data breach, this Court reached the same result. See

18   Smith v. Sabre Corp., No. 2:17-cv-05149-SVW-AFM (C.D. Cal. Jan. 23, 2018) at 4 nn.1

19   & 2 (“[T]he Court is concerned with Benson’s deletion of his previous affirmative

20   admission about having not experienced any fraudulent charges. The allegation does not

21   simply disappear because it does not appear in this version of the case. . . . Just like

22   Benson, Smith cannot selectively delete allegations from a prior complaint to avoid

23   dismissal of an amended complaint.”).6

24             In two other cases, this Court rejected attempts by plaintiffs to avoid dismissal on

25   statute of limitations grounds by omitting earlier allegations that showed their claims

26   were time-barred. See In re YogaWorks, Inc. Sec. Litig., No. 2:18-cv-10696-CJC-SK,

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     6
         The Court’s decision in Smith is attached as Exhibit 1.

                                                           7
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 1   2020 WL 2549290, at *3 (C.D. Cal. Apr. 23, 2020) (“Plaintiff cannot avoid application
 2   of the statute of limitations by simply deleting from its amended complaint allegations
 3   evidencing that it discovered or should have discovered the factual basis of its securities
 4   claim more than one year before it filed the complaint.”) (internal quotation marks and
 5   citation omitted); Adams v. United of Omaha Life Ins. Co., No. 8:12-cv-00969-JST-JPR,
 6   2013 WL 12113225, (C.D. Cal. Jan. 10, 2013). “[I]n an obvious attempt to circumvent
 7   the applicable statute of limitations, [the plaintiff in Adams] deleted his prior allegations
 8   concerning certain events that confirmed his claims for relief [were] time-barred.” Id. at
 9   *3 (brackets and citation omitted). The Court rejected this gambit and proceeded to
10   consider the allegations the plaintiff had deleted:
11          While parties making an ostensible judicial admission may explain the
            error in a subsequent pleading or by amendment, here, Plaintiff
12
            provided no explanation other than that he omitted these allegations to
13          “remove any confusion and/or doubt as to the date when he actually
            learned” of his claim. (Opp’n at 2.) Because Plaintiff does not contend
14
            that these allegations are false, and the documents verifying these
15          allegations are properly before the Court, the Court may consider these
            allegations in ruling on Defendants’ Motion.
16
17   Id. (brackets, internal quotation marks, and citations omitted); accord In re Enron Corp.,
18   370 B.R. 583, 597-98 (Bankr. S.D.N.Y. 2007) (a plaintiff “seeking to amend a complaint
19   to omit an allegation that defeats its claim for relief must present a legitimate explanation
20   for its previous inclusion, such as it having been the result of mistake or inadvertence”).
21   At bottom, this Court’s decisions in Jackson, Smith, In re YogaWorks, and Adams all
22   stand for the rule that although an amended complaint ordinarily supersedes the original,
23   when a plaintiff offers no legitimate explanation for omitting allegations that defeat the
24   plaintiff’s claim for relief, the court may consider those allegations in ruling on a motion
25   to dismiss the amended complaint.7
26
     7
      Others courts in this circuit agree with the principle. See J. Edwards Jewelry Distrib., LLC. v. Wells
27   Fargo & Co., No. 18-CV-03886-YGR, 2019 WL 2329248, at *4 (N.D. Cal. May 31, 2019) (plaintiff
     “cannot avoid application of the statute of limitations by simply deleting from its amended complaint
28
                                                         8
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 1          Applying the rule to this case confirms that the Court may properly consider the
 2   adverse allegations Colonel Spletstoser omitted from her amended complaint in ruling on
 3   the United States’ motion to dismiss. With precision, Colonel Spletstoser targeted and
 4   removed the allegations the Court relied on to find that jurisdiction over her claims was
 5   lacking. Colonel Spletstoser’s explanation that these allegations were simply
 6   “background information” is even less persuasive than the justification offered in Adams,
 7   where the plaintiff claimed that he omitted allegations showing that his claims were
 8   time-barred supposedly to “remove any confusion” about when his claims accrued.
 9   Adams, 2013 WL 12113225, at *3. What failed to work in Adams, Jackson, Smith, and
10   In re YogaWorks should not work here. Just as in those cases, Colonel Spletstoser’s
11   transparent attempt to eliminate allegations showing a direct link between her injuries
12   and activity incident to her military service “does not simply erase those allegations from
13   the case.” Jackson, 2019 WL 6721637, at *3. Colonel Spletstoser does not suggest she
14   deleted those allegations because she now contends they are false; nor does she claim
15   that she inadvertently included them in the original complaint. Accordingly, Colonel
16   Spletstoser’s previously-pled allegations are judicial admissions that she still has not
17   overcome or cured. These allegations are properly considered in the context of the
18   United States’ facial challenge to subject matter jurisdiction. Cf., e.g., Adams, 2013 WL
19   12113225, at *3 (considering plaintiff’s previously-pled allegations in context of Rule
20   12(b)(6) motion to dismiss).
21          Considering the allegations pled in Colonel Spletstoser’s original complaint would
22   also be proper if the Court construed this motion as a factual challenge to subject matter
23
24   allegations evidencing” that it discovered or should have discovered “the factual basis of its [securities]
     claim” more than one year before it filed the complaint); Stanislaus Food Prods. Co. v. USS-POSCO
25   Indus., 782 F.Supp.2d 1059, 1075 (E.D. Cal. 2011) (“The Court does not ignore the prior allegations in
26   determining the plausibility of the current pleadings.”); Cole v. Sunnyvale, No. C-08-05017 RMW,
     2010 WL 532428, *4 (N.D. Cal. Feb. 9, 2010) (noting that a court may “consider the prior allegations
27   [from earlier complaints] as part of its ‘context-specific’ inquiry based on its judicial experience and
     common sense to assess whether the Third Amended Complaint plausibly suggests an entitlement to
28   relief, as required under Iqbal”).
                                                          9
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 1   jurisdiction. A factual attack “permit[s] the court to look beyond the complaint.” Savage
 2   v. Glendale Union High Sch., Dist. No. 205, Maricopa Cty., 343 F.3d 1036, 1039 n.2
 3   (9th Cir. 2003). “In resolving a factual attack on jurisdiction, the district court may
 4   review evidence beyond the complaint without converting the motion to dismiss into a
 5   motion for summary judgment.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039
 6   (9th Cir. 2004) (citations omitted). Relevant to this case, the evidence this Court may
 7   consider on a 12(b)(1) motion “include[es] documents that can be judicially noticed.”
 8   CarMax Auto Superstores California LLC v. Hernandez, 94 F. Supp. 3d 1078, 1086
 9   (C.D. Cal. 2015). “Under Federal Rule of Evidence 201, the court may take judicial
10   notice of matters of public record if the facts are not ‘subject to a reasonable dispute.” Id.
11   at 1087 (internal quotation marks, brackets, and citation omitted). A party’s pleadings,
12   briefs, and other court “filings are proper subjects of judicial notice.” Id.
13         Consistent with this authority, the Court may properly take judicial notice of and
14   consider the following documents and information in resolving the United States’
15   motion to dismiss: (1) the allegations previously-pled but now omitted from Colonel
16   Spletstoser’s amended complaint; (2) Colonel Spletstoser’s sworn declaration, ECF No.
17   28-1, which is still in the record, has not been superseded, and repeats many of the same
18   factual assertions that appeared in the original complaint; and (3) Colonel Spletstoser’s
19   opposition to the defendants’ prior motion to dismiss, ECF No. 28, at 18, which
20   concedes that the alleged harassment occurred “both during and outside work hours”—a
21   key admission that closely aligns this case with the Ninth Circuit’s decision in Stauber.
22   As discussed more fully below, all of this information confirms that the Court was right
23   the first time when it held that Feres bars Colonel Spletstoser’s claims.
24         B.     Colonel Spletstoser’s claims are still Feres-barred because she has not
                  overcome the admissions in her original complaint.
25
26                1.     Relevant caselaw
27         The Ninth Circuit has explained that “comparison of fact patterns to outcomes in
28   cases that have applied the Feres doctrine is the most appropriate way to resolve Feres
                                                   10
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 1   doctrine cases.” Costo v. United States, 248 F.3d 863, 867 (9th Cir. 2001) (internal
 2   quotation marks and citation omitted). To that end, the United States has identified
 3   multiple cases in which courts have held that tort claims by service members arising out
 4   of rape, sexual assault, or other forms of harassment or abuse. These include cases where
 5   members of the military asserted tort claims directly against other service members,8 as
 6   well as cases involving claims against the United States or high-ranking officials arising
 7   out of sexual misconduct by military personnel.9
 8          The following three Ninth Circuit cases are most analogous to this case.
 9          Stauber v. Cline. As this Court previously determined, “the allegations in this
10   action are most analogous to those in Stauber.” ECF No. 38, at 3. In Stauber, the Ninth
11   Circuit held that Feres barred a damages action brought by a National Guard mechanic
12   against three co-workers who, “over a five-year period, continuously harassed him, both
13   on- and off-base, during regular work-duty hours and after hours.” 837 F.2d at 396. All
14
15   8
       See Stauber v. Cline, 837 F.2d 395, 400 (9th Cir. 1988) (Feres barred National Guard technician’s
     claims alleging history of harassment and abuse by superior officers); Mackey v. United States, 226
16   F.3d 773, 777 (6th Cir. 2000) (Feres barred tort claims of military officer alleging sexual harassment by
     superior officers); Perez v. Puerto Rico Nat. Guard, 951 F. Supp. 2d 279, 290-91 (D.P.R. 2013)
17
     (injuries of National Guard member alleging history of rape and sexual harassment by superior officer,
18   both in private hotels and on military base, were incident to service); Corey v. United States, No. 96-
     6409, 1997 WL 474521, at *5 (10th Cir. Aug. 20, 1997) (Feres barred tort claims of enlisted service
19   member alleging sexual assault by superior officer while on TDY); Colon v. United States, No. 96-
     50233, 1997 WL 255641, at *1 (5th Cir. May 7, 1997) (Feres barred estate’s claims brought on behalf
20   of service member who was subjected to sexual harassment by her military superiors); Stubbs v. United
21   States, 744 F.2d 58, 60-61 (8th Cir. 1984) (Feres barred estate’s claims on behalf of soldier who was
     sexually assaulted by drill sergeant); Zaccaro v. Parker, 645 N.Y.S.2d 985, 991 (Sup. Ct. 1996) (Feres
22   doctrine barred suit by State Air National Guard member against superior officer alleging sexual assault
     and harassment).
23
     9
       See Becker v. Pena, No. 95-36172, 1997 WL 90570, at *1 (9th Cir. Feb. 28, 1997) (Feres barred
24   FTCA claims alleging defendants failed to supervise military personnel who sexually harassed
     plaintiff); Doe v. Hagenbeck, 870 F.3d 36, 50 (2d Cir. 2017) (plaintiff’s claims against senior military
25   leaders alleging sexual assault by West Point cadet were incident to service); Klay v. Panetta, 758 F.3d
     369, 375 (D.C. Cir. 2014) (claims of service members who were allegedly raped, sexually assaulted, or
26   sexually harassed by military personnel arose from activity incident to service); Cioca v. Rumsfeld, 720
     F.3d 505 (4th Cir. 2013) (same); Gonzalez v. U.S. Air Force, 88 F. App’x 371, 377 (10th Cir. 2004)
27   (Feres barred negligence claims of plaintiff who was raped by fellow service member); Smith v. United
     States, 196 F.3d 774, 777 (7th Cir. 1999) (same); Shiver v. United States, 34 F. Supp. 2d 321, 322 (D.
28   Md. 1999) (same).
                                                        11
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 1   three defendants were superior in rank to the plaintiff, and one was his immediate
 2   supervisor. Id. The defendants engaged in numerous harassing and intimidating conduct,
 3   including “the use of sirens and horns and other noisemaking devices, all directed at
 4   plaintiff; forcing plaintiff to leave his work area door open so as not to be able to shut the
 5   noise out . . .; physically pushing plaintiff; threatening to make negative reports about
 6   plaintiff to plaintiff’s superiors; . . . and representing to plaintiff that eventually
 7   defendants would succeed in getting plaintiff fired from his position as a civilian
 8   technician.” Id. at 396, n.2.
 9          The Ninth Circuit held that the plaintiff’s injuries arose from activity incident to
10   military service and were precluded by the Feres doctrine. The court explained that
11   although the “doctrine cannot be reduced to a few brightline rules, two key rationales
12   “focus[] on the effect of suits between military personnel on military discipline and the
13   problem of having civilian courts second-guessing military decisions.” Id. at 399 (citing
14   United States v. Shearer, 473 U.S. 52, 57-58 (1985)) (quotations omitted). The plaintiff’s
15   lawsuit directly implicated these concerns because (1) he was suing his military
16   superiors; (2) “in their work [the parties] were always under the direct command of
17   active-duty military officers”; and (3) “[t]heir conduct was subject to military
18   discipline.” Id. Thus, the Ninth Circuit concluded that the conduct “at the maintenance
19   shop cannot give rise to actionable tort claims without impinging on military authority
20   and calling into question matters which are exclusively the subject of military remedies.”
21   Id. at 399. The plaintiff’s action involved “the types of claims that, if generally
22   permitted, would involve the judiciary in sensitive military affairs at the expense of
23   military discipline and effectiveness.” Id. at 400 (quotations, brackets, italics and citation
24   omitted).
25          “Although [the plaintiff] alleged that some of the harassment occurred off-base,
26   the district court concluded that his claims arose from conduct in the workplace,” which
27   the Ninth Circuit did not find clearly erroneous. Id. The Ninth Circuit further held that
28   “[t]o examine the relationship between on- and off-base events in this case, beyond
                                                    12
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 1   determining that the conduct involved was incident to service, would result in an
 2   impermissible intrusion upon military matters.” Id. Three years later, the Ninth Circuit
 3   explained:
 4         In effect, Stauber holds that where it is sufficiently ambiguous whether
           challenged actions were “incident to military service,” and the process
 5
           of disentangling conduct not incident to service from that incident to
 6         service would itself work an impermissible intrusion upon military
           matters, Feres must be applied to the whole course of conduct.
 7
           However, where . . . the actions were completely separate from on-the-
 8         job activities, the rationale of Stauber does not apply.
 9
     Lutz v. Sec’y of Air Force, 944 F.2d 1477, 1487 (9th Cir. 1991) (emphasis added).
10
           Dexheimer v. United States. In Dexheimer v. United States, 608 F.2d 765 (9th
11
     Cir. 1979), the Ninth Circuit held that a U.S. Army private who was physically and
12
     sexually assaulted by other inmates while confined to a military correctional facility was
13
     injured “incident to his military service.” Id. at 766 (quotations omitted). The court
14
     “emphasized that we construe ‘activity incident to service’ quite broadly.” (citation
15
     omitted). Jurisdiction over the plaintiff’s FTCA action was lacking because “the
16
     applicability of Feres and its Ninth Circuit progeny [was] clear.” Id.
17
           Becker v. Pena. In Becker v. Pena, No. 95-36172, 1997 WL 90570, at *1 (9th Cir.
18
     Feb. 28, 1997), the Ninth Circuit held that Feres barred a Coast Guard member’s FTCA
19
     action alleging sexual harassment by her superior officers. “While the acts of sexual
20
     harassment served no military purpose,” the Ninth Circuit still concluded that “they were
21
     incident to Becker’s military service.” Id. The court noted that “[v]irtually all of the
22
     harassing conduct occurred during working hours on the Coast Guard base,” and “[the
23
     plaintiff’s] harassers were predominantly superior in rank and were subject to military
24
     discipline for harassing her.” Id. Therefore, the Ninth Circuit held that the plaintiff’s
25
     injuries were incident to her military service and her claims under the FTCA were barred
26
     under the Feres doctrine.
27
           Courts outside the Ninth Circuit have also applied the Feres doctrine to preclude
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                                                  13
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 1   tort claims when confronting facts similar to this case. The following four cases are
 2   analogous to this case.
 3         Corey v. United States. In Corey v. United States, No. 96-6409, 1997 WL 474521
 4   (10th Cir. Aug. 20, 1997), the Tenth Circuit held that Feres barred the tort claims of an
 5   enlisted service member who was subjected to a continued history of sexual harassment
 6   and was sexually assaulted by a superior officer while on a temporary duty assignment.
 7   Id. at *1. AFOSI investigated the plaintiff’s claims, but she alleged a cover up and a
 8   general failure to protect sexual assault victims. Id.
 9         Pointing out that Feres applies broadly to all injuries “that are even remotely
10   related” to the plaintiff’s status as a service member, the Tenth Circuit held that the
11   injuries arose from activity incident to service. Id. at *5. Particularly significant was that
12   “Ms. Corey’s participation in the party at which her injuries occurred was a consequence
13   of her military status.” Id. That the assault occurred while the plaintiff was “off-duty” or
14   “during a recreational activity [did] not prevent the application of Feres.” Id. The parties
15   were both “subject to military discipline and control” when the injuries occurred. Id. And
16   that meant that allowing the plaintiff’s lawsuit would require the district court to pass
17   judgment on the military’s investigation and disciplinary decisions:
18         [W]e would be inviting the district court to second-guess the military
           decisions made concerning the conduct that occurred at the on-base
19
           party. Furthermore, we would be authorizing the court to review the Air
20         Force’s application (or non-application) of its own rules of military
           discipline. This is precisely the type of second-guessing and intrusion
21
           into military affairs that the Feres doctrine was designed to prevent. “To
22         permit this type of suit would mean that commanding officers would
           have to stand prepared to convince a civilian court of the wisdom of a
23
           wide range of military and disciplinary decisions . . . .”
24
25   Id. (quoting Shearer, 473 U.S. at 58). And so the Tenth Circuit held that “the injuries

26   suffered by Ms. Corey were at least ‘remotely related’ to her military status,” thus

27   barring her damages suit under Feres. Id.

28         Mackey v. United States. In Mackey v. United States, 226 F.3d 773 (6th Cir.

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 1   2000), the Sixth Circuit held that Feres barred the tort claims of a U.S. Air Force captain
 2   suing her superior officers for sexual harassment. Notably, the Sixth Circuit explained
 3   that application of the Feres doctrine would not “completely deprive[] [the plaintiff] of a
 4   remedy in light of the availability of discipline through the Uniform Code of Military
 5   Justice and the existence of benefits programs available to injured service members.” Id.
 6   at 777 (citations omitted).
 7         Stubbs v. United States. In Stubbs v. United States, 744 F.2d 58 (8th Cir. 1984),
 8   the Eighth Circuit held that the Feres doctrine applied to wrongful death claims brought
 9   by the estate of a U.S. Army private who was lured to the latrine supposedly for cleaning
10   duty and then sexually assaulted by a drill sergeant. Id. at 59. While “the sexual
11   harassment certainly served no military purpose,” the soldier’s injuries were nonetheless
12   incident to service because there was “a relevant relationship between [her] activity at
13   the time of the incident and her military service . . . .” Id. at 60. Furthermore, the lawsuit
14   threatened to impair military discipline by “directly question[ing] the disciplinary
15   decisions of superior officers . . . . All of these inquiries [went] to the heart of military
16   decisionmaking and discipline, and thus [were] barred by Feres.” Id. at 61.
17         Perez v. Puerto Rico National Guard. In Perez v. Puerto Rico Nat. Guard, 951 F.
18   Supp. 2d 279 (D.P.R. 2013)—a case with facts strikingly similar to those alleged by
19   Colonel Spletstoser—the court held that the claims of a National Guard member who
20   was allegedly raped and subjected to years of sexual harassment by her military superior,
21   both on-base and in private hotels during temporary duty assignments, were incident to
22   service and therefore barred by the Feres doctrine. Id. at 290-91. “Allowing such claims,
23   as in the present matter, to proceed in civilian courts, whether state or federal, would
24   disrupt the relationship of the soldier and his superiors and threaten military discipline
25   and effectiveness.” Id. at 294.
26                2.     Application of the Feres doctrine
27
           Much like the plaintiff in Stauber, Colonel Spletstoser has alleged—and her sworn
28
                                                   15
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 1   declaration repeats—that General Hyten continuously harassed and assaulted her for one
 2   year, both on-base and off-base, both during and after working hours. Multiple alleged
 3   incidents occurred when she was working in her STRATCOM office, while others
 4   purportedly happened when she was on official TDY assignments in her military
 5   capacity as General Hyten’s CAG Director. These allegations describe activity incident
 6   to Colonel Spletstoser’s military service and therefore fall within the broad reach of the
 7   Feres doctrine.
 8          First, as in Stauber, “[t]o examine the relationship between on- and off-base
 9   events in this case, beyond determining that the conduct involved was incident to
10   service, would result in an impermissible intrusion upon military matters.” Stauber, 837
11   F.2d a 400. Still, the fact that some of the alleged incidents occurred off-base is not
12   controlling here any more than it was in Costo, 248 F.3d at 868; Bon v. United States,
13   802 F.2d 1092, 1095 (9th Cir. 1986); Stauber, 837 F.2d at 400; or Perez, 951 F. Supp. 2d
14   at 290-91. By definition, TDY involves the performance of military duties away from the
15   service member’s permanent duty station.10 And for each alleged incident that occurred
16   off-base, there is no dispute that Colonel Spletstoser was at the location only because she
17   was on official business, traveling at the government’s expense, in her military capacity
18   as a representative of STRATCOM.11
19
20
     10
       Joint Travel Regulations at A-22, https://www.defensetravel.dod.mil/Docs/perdiem/JTR.pdf (last
21   visited Aug. 24, 2020).

22   11
        As mentioned above, although trying to elide her claimed injuries’ service connection, Colonel
23   Spletstoser’s declaration shows that connection. See, e.g., ECF 28-1, Spletstoser Decl. ¶ 7 (“I was
     assigned to United States Strategic Command (‘STRATCOM’)”); ¶ 9 (“Gen. Hyten (‘Hyten’) became
24   STRATCOM Commander and retained me as his CAG Director”); ¶ 10 (“STRATCOM, as a combatant
25   command operates at the strategic level, it’s [sic] stated mission is to deter strategic attack and employs
     forces, as directed, to guarantee the security of our nation and our allies”); ¶ 18 (“While serving with
26   STRATCOM, I was both assaulted and battered by Hyten”); and ¶ 19 (“After joining STRATCOM, I
     attended trips”); see also id. ¶ 22 (Hoover Institute trip); ¶ 31 (Naval Post Graduate School trip); ¶ 38
27   (trip to attend the Joint Warfighting Analysis Center and other official events); ¶ 43 (Pacific Command
     trip to Seoul, South Korea); ¶ 47 (trip to London, England for the Schriever Wargame and the
28
                                                         16
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 1          Second, with regard to whether the alleged incidents occurred during work hours
 2   or were related to working conditions, this case involves exactly the kind of ambiguity
 3   the Ninth Circuit says requires applying Feres “to the whole course of conduct.” Lutz,
 4   944 F.2d at 1487. Some of the alleged misconduct occurred in the office during working
 5   hours. Colonel Spletstoser has alleged at least five incidents that occurred in the office.
 6   See Compl. ¶¶ 41, 43 (alleging two unwanted gestures in STRATCOM office, which
 7   were allegedly repeated “an additional three times”). Other alleged incidents occurred
 8   when Colonel Spletstoser was supposedly “off-duty.” But given that Colonel Spletstoser
 9   was the CAG Director to a four-star general who was, at the time, responsible for the
10   Nation’s nuclear deterrent, it is difficult not to view their entire professional relationship
11   as constituting “working hours.” At any rate, taking “the whole course of conduct,”
12   Feres applies. Lutz, 944 F.2d at 1487. Moreover, the allegation that Colonel Spletstoser
13   was continuously harassed by her commanding officer for a full year and then retaliated
14   against—in the form of negative performance evaluations, an AR 15-6 investigation, a
15   formal reprimand, being relieved of her duties, and forced to retire from the military
16   because she refused his alleged sexual advances—directly relates to “working
17   conditions.”
18          Third, because Colonel Spletstoser is suing her commanding officer, her claims
19   encamp in the heartland of Feres concerns about civilian courts undermining the
20   commander-subordinate relationship. See Lutz, 944 F.2d at 1486 n.12 (explaining that
21   “in light of the widely acknowledged practice in the military of superior officers treating
22   subordinates severely and in a manner which many civilians would find harassing, the
23   officer-subordinate relationship may be one factor informing [the court’s] consideration
24   of whether the activity was incident to military service”) (quotations omitted).
25          Finally, AFOSI investigated Colonel Spletstoser’s allegations, and the military
26
     Combined Space Ops Principals’ Board); ¶ 52 (trip to Halifax, Nova Scotia for the Halifax International
27
     Security Forum); ¶ 57 (trip to Reagan National Defense Forum in Simi Valley, California).
28
                                                       17
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 1   concluded that the evidence yielded no basis for any disciplinary action against General
 2   Hyten. Colonel Spletstoser’s action simply cannot proceed in this Court without
 3   scrutinizing or undermining the military’s investigation and disposition of her sexual
 4   misconduct claims. See Stauber, 837 F.2d at 399; see also Washington v. United States,
 5   No. 92-56330, 1993 WL 471790, at *4 (9th Cir. June 11, 1993) (explaining that in Lutz,
 6   the fact “that the subordinates’ misconduct had not been the subject of military
 7   discipline” was a “critical” distinction from other cases that applied Feres in order to
 8   avoid judicial encroachment on military decisions). Colonel Spletstoser now turns to this
 9   Court to further pursue what she failed to obtain through the specific channels that
10   Congress and the military authorized. She asks this Court (and potentially a jury of
11   civilians) to act as a super-arbiter of the basic issue that has already been resolved by the
12   military’s investigation and disciplinary process: the validity of her sexual misconduct
13   claims against General Hyten. The Feres doctrine exists to prevent exactly this kind of
14   judicial second-guessing of the military’s disciplinary judgments. See Stauber, 837 F.2d
15   at 400 (Feres prohibits judicial review “that would, even remotely, examine military
16   decisions”) (citation omitted).
17         Colonel Spletstoser’s pending FOIA lawsuit confirms that she seeks to relitigate
18   the military’s handling of her sexual misconduct claims. In that action, she asserts a
19   “compelling and immediate need” for all records related to the military’s investigation
20   and disposition of her claims against General Hyten because this evidence is supposedly
21   “essential” to pursuing her damages claims here. See Spletstoser v. U.S. Dep’t of
22   Defense, No. 1:20-cv-731-CKK (D.D.C.), ECF No. 1, ¶¶ 40, 96-97, 110-11. In the FOIA
23   action, Colonel Spletstoser seeks, among other things, “any and all statements and
24   documents underlying the sexual assault investigation into General Hyten”; “any and all
25   documents or recommendations provided by the Staff Judge Advocate . . . concerning
26   the disposition of charges”; and “all electronic mail (e-mail) communication reviewed by
27   the Air Force Office of Special Investigations (OSI) in the course of conducting the
28   investigation.” Id. ¶¶ 26, 39. Additionally, she has demanded the emails of various senior
                                                  18
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 1   Department of Defense and high-ranking military leaders, including email
 2   correspondence between:
 3       General Hyten and the General Court-Martial Convening Authority, General
          James Holmes, id. ¶ 46;
 4
 5       Former Secretary of the Air Force Heather Wilson and former Acting Secretary of
 6        the Air Force Matthew Donovan, General Dave Goldfein, and General Steven
          Wilson, id.;
 7
 8       Former Chairman of the Joint Chiefs of Staff Joseph Dunford and former Acting
          Secretary of the Air Force Matthew Donovan, General Dave Goldfein, and
 9        General Steven Wilson, id.;
10
         Former Vice Chairman of the Joint Chiefs of Staff Paul Selva and former Acting
11        Secretary of the Air Force Matthew Donovan, General Dave Goldfein, and
12        General Steven Wilson, id.;
13       General Hyten and former Secretary of the Air Force Heather Wilson, former
14        Acting Secretary of the Air Force Matthew Donovan, General Dave Goldfein,
          General Steven Wilson, former Chairman of the Joint Chiefs of Staff Joseph
15        Dunford, and Vice Chairman of the Joint Chiefs of Staff Paul Selva, id. ¶ 47;
16
         General Hyten and former Acting Secretary of Defense Patrick Shanahan, id.; and
17
18       General Hyten and Secretary of Defense Mark Esper, id.
19
           Colonel Spletstoser also requests officer evaluations “that demonstrate the rating
20
     chain of command” of General James Holmes from 2000 to the present—i.e., the last
21
     twenty years. Id. ¶ 48. Presumably, Colonel Spletstoser seeks evidence about the chain-
22
     of-command to prove her allegation in this Court that former Air Force Secretary Wilson
23
     improperly delegated authority over the military’s investigation to General Holmes
24
     (himself a four-star general) because he was supposedly junior to General Hyten—a
25
     decision that Colonel Spletstoser previously alleged “caused an inadequate and
26
     conflicted investigation.” See Compl. ¶¶ 95-96. Of course, none of this information—the
27
     officer evaluations, the emails of high-ranking Defense Department and military leaders,
28
                                                19
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 1   the evidence reviewed by military investigators, and the disposition recommendations of
 2   the Staff Judge Advocate—would be “essential” to Colonel Spletstoser’s claims in this
 3   action unless she intended to relitigate the military’s investigation and disposition of her
 4   sexual misconduct allegations. This is precisely the kind of “congressionally uninvited
 5   intrusion into military affairs” that Feres does not permit. United States v. Stanley, 483
 6   U.S. 669, 683 (1987).
 7         Taken together, all of the factors discussed above demonstrate a relevant
 8   relationship between Colonel Spletstoser’s alleged injuries and activity incident to her
 9   military service. In light of the abundant Ninth Circuit and other authority applying the
10   Feres doctrine broadly to similar factual contexts, Colonel Spletstoser cannot proceed
11   with her damages lawsuit against her commanding officer in this Court.
12         C.     Even apart from Colonel Spletstoser’s strategically omitted allegations,
                  the amended complaint still does nothing to alter the Court’s
13
                  conclusion that this lawsuit falls within the broad reach of the Feres
14                doctrine.
15
           While Colonel Spletstoser excised many of the harmful details in her amended
16
     complaint, it is still apparent from that pleading—and her sworn declaration, which
17
     remains in the record—that she sues for service-related injuries. Colonel Spletstoser
18
     alleges that she was General Hyten’s CAG Director, he was superior in rank, and that her
19
     alleged injuries occurred while they were attending a national defense forum as
20
     representatives of STRATCOM. See, FAC ¶¶ 23, 30. The amended complaint
21
     acknowledges that Colonel Spletstoser attended the Reagan National Defense Forum in
22
     her military capacity as General Hyten’s CAG Director. Id. ¶ 30 (“STRATCOM was
23
     invited”). It certainly does not allege that Colonel Spletstoser attended in her personal
24
     capacity or that, for example, she traveled at her own expense.
25
           In that respect, Colonel Spletstoser’s allegations resemble those of the plaintiff in
26
     Corey, who was sexually assaulted by a superior officer during a TDY assignment. See
27
     Corey, 1997 WL 474521, at *5. Colonel Spletstoser’s allegations align even more
28
                                                  20
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 1   closely with those of the plaintiff in Perez, who was harassed and sexually assaulted by
 2   her military superior while staying in private hotels during military training exercises
 3   and TDY assignments. See Perez, 951 F. Supp. 2d at 290-91. “The incident occurred off-
 4   base at a hotel paid for by the Puerto Rico National Guard. Plaintiff was at the hotel due
 5   to the annual training and for those reasons it arose out of a military activity.” Id. at 291.
 6   And so the plaintiff’s injuries arose from activity incident to her military service.
 7   Colonel Spletstoser’s amended complaint therefore, on its face, fails to distinguish her
 8   claims from the military sexual assault precedents discussed earlier. Accordingly, her
 9   claims remain Feres-barred.
10   II.   The FTCA’s “Intentional Tort” Exception also Bars any Finding of Liability
           against the United States.
11
12         The United States has been substituted for General Hyten as the defendant in this
13   action pursuant to the Scope of Employment Certification (Docket No. 23-1) and 28
14   U.S.C. § 2679(d). “The United States . . . must remain the federal defendant in the action
15   unless and until the District Court determines that the employee, in fact, and not simply
16   as alleged by the plaintiff, engaged in conduct beyond the scope of his employment.”
17   Osborn v. Haley, 549 U.S. 225, 231 (2007).
18         Along with the Feres doctrine, the FTCA’s “intentional tort” exception, however,
19   bars government liability here. See 28 U.S.C. § 2680(h). “The [FTCA’s] waiver of
20   sovereign immunity does not apply to ‘any claim arising out of assault or battery[.]’”
21   Shearer, 473 U.S. at 54 (brackets omitted) (quoting § 2860(h), and applying it to bar
22   claims arising out of the kidnapping and murder of a service member). Congress
23   intended “that § 2680(h) would bar claims arising out of a certain type of factual
24   situation—deliberate attacks by Government employees.” Id. at 55. Colonel Spletstoser’s
25   claims of unwanted touching and sexual assault fall squarely within the intentional tort
26   exception, thus precluding FTCA liability. See Olsen v. U.S. ex rel. Dep’t of the Army,
27   144 F. App’x 727, 731 (10th Cir. 2005) (FTCA’s intentional torts exception barred
28   assault and battery claims of alleged victim of a sexual assault by a military recruiter).
                                                   21
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 1                                          CONCLUSION
 2         This Court has already ruled that Colonel Spletstoser’s basic claim as related in
 3   the initial complaint and her sworn declaration triggers the Feres bar. Only two
 4   questions remain then: Has she now alleged some different facts showing an injury
 5   outside the Feres bar? The answer is clearly “no.” Colonel Spletstoser simply deleted the
 6   very allegations this Court relied on to find that jurisdiction over her claims is lacking.
 7   That leaves only the question whether this “strange maneuver” evades the otherwise
 8   applicable bar. Schneider, 412 F.3d at 199. The answer, as demonstrated above, is again
 9   “no.” Colonel Spletstoser has not overcome the admissions in her original complaint.
10   Her sworn declaration remains in the record and repeats many of the facts alleged in the
11   original complaint. As a result, this Court is not required to ignore its prior decision that
12   the suit is Feres-barred. The Court should therefore dismiss the amended complaint for
13   lack of subject matter jurisdiction.
14   Dated: August 24, 2020                  Respectfully submitted,
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